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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION

LEROY PERNELL, et al.,

      Plaintiffs,

      v.                                    No. 4:22-cv-304-MW-MAF

FLORIDA BOARD OF GOVERNORS
OF THE STATE UNIVERSITY SYSTEM, et al.,

     Defendants.
_________________________________

                             NOTICE OF APPEAL

      Notice is hereby given that Representatives Andrade, Bell, Borrero,

Fernandez-Barquin, Fine, Maggard, Massullo, McClain, Overdorf, Payne, Roth,

Shoaf, Sirois, and Truenow appeal to the United States Court of Appeals for the

Eleventh Circuit the order denying in part their motion to quash (DE100), which was

entered by this Court on February 22, 2023. See In re Hubbard, 803 F.3d 1298, 1305

(11th Cir. 2015) (holding that denied legislative privilege claims are immediately

appealable).




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                     Respectfully submitted,

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                     McClain, Overdorf, Payne, Roth, Shoaf, Sirois, and
                     Truenow




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                          CERTIFICATE OF SERVICE

      I hereby certify that on this 28th day of February, 2023, a true and correct

copy of the foregoing was filed with the Court’s CM/ECF system, which will

provide service to all parties.

                                            /s/ Daniel William Bell
                                            Chief Deputy Solicitor General




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